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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
       v.                                        :       Criminal Action No.: 21-96 (RC)
                                                 :
MICHAEL STEPAKOFF,                               :
                                                 :
       Defendant.                                :

                                            ORDER

                     GRANTING ORAL MOTION FOR RELEASE OF EXHIBITS

       On January 20, 2022, the Court held a sentencing hearing in this matter. At that hearing,

Defendant asked the Court to release the CCTV footage relied upon by Defendant from the

Protective Order’s restrictions. The Government stated that it did not object to this request. The

Government then asked the Court to formally admit the Government’s exhibits that were

submitted in chambers. Defendant did not object.

       The Court stated on the record that the Court had reviewed both parties’ exhibits prior to

the hearing and that both were now formally admitted. The Court also stated that it would issue

an order making the CCTV exhibit and all other exhibits relied upon by the Court available.

Accordingly, it is hereby:

       ORDERED that the United States shall make available to the media all exhibits

submitted by the parties in support of their sentencing memoranda and responses thereto

consistent with the procedures set forth in Standing Order 21-28.
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       It is FURTHER ORDERED that the media are granted permission to record, copy,

download, retransmit, and otherwise further publish these.

       SO ORDERED.


Dated: January 25, 2022                                      RUDOLPH CONTRERAS
                                                             United States District Judge




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